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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                          x
M. SCOTT BREWER, JAMES E. BROWN, :            Civil Action No.
SR., MARCUS ESTLACK, KEITH                :
McCLANAHAN, JEREMY JEFFERS,               :   VERIFIED SHAREHOLDER DERIVATIVE
GLENN JEFFRIES, WILLIAM                   :   COMPLAINT FOR BREACH OF
WATERKOTTE, ANDREW WISEMAN,               :   FIDUCIARY DUTY, UNJUST
DENZIL MALONE and GARY R. REED, in :          ENRICHMENT AND CORPORATE WASTE
Their Capacities as Trustees for the      :
CARPENTERS PENSION FUND OF WEST :
VIRGINIA, Derivatively on Behalf of       :
EXPRESS SCRIPTS HOLDING COMPANY, :
                                          :
                              Plaintiffs, :
                                          :
       vs.                                :
                                          :
MAURA C. BREEN, WILLLIAM J.               :
DeLANEY, ELDER GRANGER, NICHOLAS :
J. LaHOWCHIC, THOMAS P. MAC               :
MAHON, FRANK MERGENTHALER,                :
WOODROW A. MYERS, JR., RODERICK A. :
PALMORE, GEORGE PAZ, WILLIAM L.           :
ROPER, SEYMOUR STERNBERG,                 :
CHRISTOPHER A. McGINNIS, DAVID            :
QUELLER, ERIC R. SLUSSER, TIMOTHY :
WENTWORTH, GARY G. BENANAV,               :
JAMES M. HAVEL and CHRISTOPHER K. :
KNIBB,                                    :
                                          :
                              Defendants,
                                          :
       – and –
                                          :
EXPRESS SCRIPTS HOLDING COMPANY, :
a Delaware corporation,                   :
                                          :
                      Nominal Defendant.  :
                                          :
                                          x   DEMAND FOR JURY TRIAL
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                                 OVERVIEW OF THE ACTION

       1.      This is a shareholder derivative action on behalf of nominal defendant Express Scripts

Holding Company (“Express Scripts” or the “Company”) for breach of fiduciary duty, unjust

enrichment and corporate waste. Defendants are Express Scripts’ directors – Maura C. Breen,

William J. DeLaney, Elder Granger, Nicholas J. LaHowchic, Thomas P. Mac Mahon, Frank

Mergenthaler, Woodrow A. Myers, Jr., Roderick A. Palmore, George Paz, William L. Roper and

Seymour Sternberg – and its top officers – Christopher A. McGinnis, David Queller, Eric R. Slusser

and Timothy Wentworth – and its former director and top officers – Gary G. Benanav, James M.

Havel and Christopher K. Knibb (together, “defendants”).

       2.      Express Scripts is a pharmacy benefits management (“PBM”) company that offers a

full range of services to its clients, which include managed health care organizations, health insurers,

employers and hospitals. As a PBM, Express Scripts helps health benefit providers improve access

and affordability to prescription drugs by, among other things, leveraging substantial purchasing

volume to deliver discounts to health benefit providers.

       3.      In December 2009, Express Scripts acquired certain subsidiaries of Anthem, Inc. that

provided PBM services. In conjunction with the acquisition, Express Scripts entered into a 10-year

contract under which it would provide PBM services to members of the affiliated health plans of

Anthem (the “Agreement”). As a result of the Agreement, Anthem, one of the largest health benefits

companies in the United States, became Express Scripts’ largest and most important client,

representing approximately 14% of Express Scripts’ annual revenues.

       4.      According to the terms of the Agreement, Anthem was entitled to conduct a periodic

pricing review to ensure it was receiving “competitive benchmark pricing” from Express Scripts.

Express Scripts was in turn obligated to negotiate in good faith over the proposed new pricing terms.

In addition, Express Scripts was required to perform services under the Agreement “in a prudent and
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expert manner in accordance with this Agreement and all laws,” including Centers for Medicare &

Medicaid Services (“CMS”) regulations. Among its many obligations concerning CMS Medicare

Part D prescription drug plans, Express Scripts was responsible for timely submitting Prescription

Drug Event (“PDE”) files to CMS and for satisfying CMS mandated turnaround times (“TATs”)

with respect to processing Medicare Part D claims.

       5.      On February 16, 2015, Anthem issued a notice of operational breaches concerning the

Agreement to Express Scripts. Anthem stated that Express Scripts’ performance of the delegated

Medicare Part D obligations had not been satisfactory and that Anthem consequently had the right to

terminate the Agreement on that basis.

       6.      On February 23, 2015, one week after the Company received the notice of breach

from its largest customer, defendants misled shareholders by causing Express Scripts to file an

Annual Report on Form 10-K with the U.S. Securities and Exchange Commission (“SEC”). The

Form 10-K failed to disclose that its largest client, Anthem, had already accused the Company of

breaching the Agreement. While hiding this material adverse information from shareholders,

defendants also acknowledged in the same 10-K that the Company’s financial results would be

materially adversely affected if a large client changed the terms of a contract.

       7.      Anthem’s February 16, 2015 notice of breach was only the first in a series of

disastrous events, each leading to a deteriorating relationship between the two companies and

creating a significant risk that Express Scripts would lose Anthem’s business. Nonetheless,

defendants repeatedly caused or allowed the dissemination of materially false and misleading

statements claiming a “very, very solid” relationship with Anthem.

       8.      On March 18, 2015, Anthem notified Express Scripts that its marketing analysis had

determined that the pricing terms contained in the Agreement were not competitive. In response,


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Express Scripts failed to meet its obligations to engage in any negotiation for competitive benchmark

pricing. In light of Express Scripts’ utter refusal to negotiate, on April 1, 2015, Anthem provided the

Company with a formal notice of breach of the Agreement. For the next year, Anthem repeatedly

notified Express Scripts on dozens of occasions that it was in breach of the Agreement and on

several occasions attempted to engage the Company in negotiations. Express Scripts repeatedly

ignored Anthem. When Express Scripts finally did engage in dialogue with Anthem on January 7,

2016, it forwarded a proposal that was $12 billion in excess of competitive benchmark pricing.

Anthem’s repeated attempts at arriving at a mutually agreeable solution were fruitless. All the while,

Express Scripts publicly maintained a facade of a positive relationship between the two companies,

and failed to acknowledge that it was in danger of losing its biggest client.

       9.      Despite receiving multiple notifications that Express Scripts was in breach of its

Agreement with Anthem, defendants continued to cause Express Scripts to submit various filings to

the SEC, participate in multiple investor conference calls, and issue several press releases that failed

to mention the Company’s ongoing strife with Anthem and the potential impending loss of Express

Scripts’ biggest client. In fact, when discussing Anthem in these filings and conference calls,

Express Scripts officials stated just the opposite – that its relationship with Anthem was solid and

that it looked forward to having Anthem as a client through the end of the Agreement term or even

longer. Further, when addressing the Company’s future, defendant Timothy Wentworth, Express

Scripts’ Chief Executive Officer (“CEO”), stated that due to the Company’s close collaboration with

its clients, it remained confident in its client retention rate and expected its momentum to continue.

       10.     In light of defendants’ efforts to conceal the Anthem problems, investors were

shocked when, on January 12, 2016, Anthem publicly threatened to terminate its relationship with

the Company. In particular, Anthem stated that it was entitled to lower pharmaceutical pricing that


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equated to an annual savings on drug costs of more than $3 billion, which equated to $13 billion over

the remaining term of the Agreement. Anthem also stated that if Express Scripts refused to

negotiate, Anthem would seek out another PBM partner.

       11.     The public revelations of the nearly year-long beef between Anthem and Express

Scripts caused Express Scripts’ stock price to plummet $5.89 per share, or nearly 7%, representing a

$3.9 billion loss in market capitalization on January 13, 2016.

       12.     Defendants thereafter attempted to mitigate the negative impact of this unfavorable

news by continuing to misleadingly reassure investors that the Company was in full compliance with

the terms of the Anthem Agreement. In its Annual Report on Form 10-K for the year ended

December 31, 2015, filed with the SEC on February 16, 2016 (the “2015 Form 10-K”), Express

Scripts downplayed the pricing review negotiations with Anthem, stating that it was engaged in

good-faith discussions. Shortly thereafter, in an investor conference call on February 17, 2016,

Express Scripts officials again assured investors that the Company was performing at a high level,

financially and operationally, and that it remained committed to reaching a mutually beneficial

agreement with Anthem. Express Scripts had, in reality, been entirely ignoring Anthem’s repeated

notices of breach and was making no attempt to resolve or mitigate these contractual breaches.

       13.     Just one month after Express Scripts assured investors that it was in compliance with

the Agreement’s terms, on March 21, 2016, Anthem filed suit against the Company in the U.S.

District Court for the Southern District of New York, alleging that Express Scripts breached its

contract with Anthem by failing to negotiate pricing terms in good faith (the “Anthem Complaint”).

The Anthem Complaint also alleges that Express Scripts materially breached its obligation to

perform operational duties in a “prudent and expert manner,” as required by the contract, and in so

doing violated CMS rules and regulations.


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        14.      As a result of defendants’ improper conduct, the Anthem Complaint seeks almost $15

billion in damages and a release from its contract with Express Scripts. Further, as a direct result of

this unlawful course of conduct, the Company is now the subject of an expensive-to-defend federal

securities class action lawsuit filed in the U.S. District Court for the Southern District of New York

on behalf of investors who purchased Express Scripts’ shares (the “Securities Class Action”).

                                  JURISDICTION AND VENUE

        15.      This Court has jurisdiction under 28 U.S.C. §1332(a)(1). Plaintiffs and defendants

are citizens of different states and the amount in controversy exceeds $75,000, exclusive of interest

and costs. This action is not a collusive action designed to confer jurisdiction on a court of the

United States that it would not otherwise have.

        16.      This Court has jurisdiction over each defendant because each defendant is either a

corporation that conducts business in and maintains operations in this District, or is an individual

who has sufficient minimum contacts with this District so as to render the exercise of jurisdiction by

the district courts permissible under traditional notions of fair play and substantial justice.

        17.      Venue is proper in this Court under 28 U.S.C. §1391(b) because: (i) one or more of

the defendants either reside(s) in or maintain(s) offices in this District; and (ii) a substantial portion

of the transactions and wrongs complained of herein occurred in this District.

                                           THE PARTIES

Plaintiffs

        18.      Plaintiffs M. Scott Brewer, James E. Brown, Sr., Marcus Estlack, Keith McClanahan,

Jeremy Jeffers, Glenn Jeffries, William Waterkotte, Andrew Wiseman, Denzil Malone and Gary R.

Reed are the Trustees of the Carpenters Pension Fund of West Virginia (“Carpenters Pension Fund”)

and each of them pursues this action in that capacity. Each of the Trustees are citizens of the State of

West Virginia.
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       19.     The Carpenters Pension Fund is a pension fund authorized by the Taft-Hartley Act of

1947 and administered by its Board of Trustees. The Carpenters Pension Fund is and has been a

shareholder of Express Scripts since at least November 2009.

Nominal Defendant

       20.     Nominal defendant Express Scripts is a Delaware corporation with principal

executive offices located at One Express Way, St. Louis, Missouri. According to its SEC filings,

Express Scripts is a PBM company that provides, among other things, products and solutions to

improve patient outcomes and assist in controlling costs. Express Scripts is a citizen of the State of

Delaware and Missouri.

Director Defendants

       21.     Defendant Maura C. Breen has been a director of Express Scripts since July 2004.

She has also served as Chair of the Compensation Committee of the Express Scripts Board.

Defendant Breen knowingly or recklessly approved and allowed improper statements in the

Company’s press releases and public filings concerning: (i) the Company’s financial results for 2014

and the first through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii)

the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Defendant Breen also knowingly

or recklessly caused or allowed the Company to fail to negotiate its largest contract with its most

important client in good faith, and fail to adhere to critical contractual obligations with Anthem. On

information and belief, Breen is a citizen of the State of Florida or Massachusetts.

       22.     Defendant William J. DeLaney has been a director of Express Scripts since

September 2011. He has also served on the Audit Committee and Compensation Committee of the

Express Scripts Board. Defendant DeLaney knowingly or recklessly approved and allowed

improper statements in the Company’s press releases and public filings concerning: (i) the
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Company’s financial results for 2014 and the first through fourth quarters and full year 2015, and its

financial guidance for 2016; and (ii) the impact on the Company of issues related to its most

important client, Anthem, creating a significant risk that the Company would lose Anthem’s

business. Defendant DeLaney also knowingly or recklessly caused or allowed the Company to fail

to negotiate its largest contract with its most important client in good faith, and fail to adhere to

critical contractual obligations with Anthem. DeLaney is a citizen of the State of Texas.

       23.     Defendant Elder Granger has been a director of Express Scripts since May 2015. He

has also served on the Compliance Committee of the Express Scripts Board. Defendant Granger

knowingly or recklessly approved and allowed improper statements in the Company’s press releases

and public filings concerning: (i) the Company’s financial results for 2014 and the first through

fourth quarters and full year 2015, and its financial guidance for 2016; and (ii) the impact on the

Company of issues related to its most important client, Anthem, creating a significant risk that the

Company would lose Anthem’s business. Defendant Granger also knowingly or recklessly caused

or allowed the Company to fail to negotiate its largest contract with its most important client in good

faith, and fail to adhere to critical contractual obligations with Anthem. Granger is a citizen of the

State of Colorado.

       24.     Defendant Nicholas J. LaHowchic has been a director of Express Scripts since July

2001. He has also served on the Audit Committee and the Compensation Committee of the Express

Scripts Board. Defendant LaHowchic knowingly or recklessly approved and allowed improper

statements in the Company’s press releases and public filings concerning: (i) the Company’s

financial results for 2014 and the first through fourth quarters and full year 2015, and its financial

guidance for 2016; and (ii) the impact on the Company of issues related to its most important client,

Anthem, creating a significant risk that the Company would lose Anthem’s business. Defendant


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LaHowchic also knowingly or recklessly caused or allowed the Company to fail to negotiate its

largest contract with its most important client in good faith, and fail to adhere to critical contractual

obligations with Anthem. LaHowchic is a citizen of the State of Florida.

        25.     Defendant Thomas P. Mac Mahon has been a director of Express Scripts since March

2001. Defendant Mac Mahon knowingly or recklessly approved and allowed improper statements in

the Company’s press releases and public filings concerning: (i) the Company’s financial results for

2014 and the first through fourth quarters and full year 2015, and its financial guidance for 2016; and

(ii) the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Defendant Mac Mahon also

knowingly or recklessly caused or allowed the Company to fail to negotiate its largest contract with

its most important client in good faith, and fail to adhere to critical contractual obligations with

Anthem. On information and belief, Mac Mahon is a citizen of the State of New Jersey or Florida.

        26.     Defendant Frank Mergenthaler has been a director of Express Scripts since January

2009. He has also served as the Chair of the Audit Committee of the Express Scripts Board.

Defendant Mergenthaler knowingly or recklessly approved and allowed improper statements in the

Company’s press releases and public filings concerning: (i) the Company’s financial results for 2014

and the first quarter through fourth quarters and full year 2015, and its financial guidance for 2016;

and (ii) the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Defendant Mergenthaler also

knowingly or recklessly caused or allowed the Company to fail to negotiate its largest contract with

its most important client in good faith, and fail to adhere to critical contractual obligations with

Anthem. Mergenthaler is a citizen of the State of New Jersey.




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       27.     Defendant Woodrow A. Myers, Jr. has been a director of Express Scripts since May

2007. He has also served on the Compensation Committee and Compliance Committee of the

Express Scripts Board. Defendant Myers knowingly or recklessly approved and allowed improper

statements in the Company’s press releases and public filings concerning: (i) the Company’s

financial results for 2014 and the first through fourth quarters and full year 2015, and its financial

guidance for 2016; and (ii) the impact on the Company of issues related to its most important client,

Anthem, creating a significant risk that the Company would lose Anthem’s business. Defendant

Myers also knowingly or recklessly caused or allowed the Company to fail to negotiate its largest

contract with its most important client in good faith, and fail to adhere to critical contractual

obligations with Anthem. Myers is a citizen of the State of Indiana.

       28.     Defendant Roderick A. Palmore has been a director of Express Scripts since

September 2014. He knowingly or recklessly approved and allowed improper statements in the

Company’s press releases and public filings concerning: (i) the Company’s financial results for 2014

and the first through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii)

the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Defendant Palmore also

knowingly or recklessly caused or allowed the Company to fail to negotiate its largest contract with

its most important client in good faith, and fail to adhere to critical contractual obligations with

Anthem. Palmore is a citizen of the State of Illinois.

       29.     Defendant George Paz has been a director of Express Scripts since January 2004. He

also served as CEO of Express Scripts from April 2005 to May 2016, as President from October

2003 to February 2014, and as Senior Vice President and Chief Financial Officer from January 1998

to April 2004. Defendant Paz is named in the Securities Class Action complaint that alleges he


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violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”). Defendant

Paz knowingly, recklessly, or with gross negligence made improper statements in the Company’s

press releases and public filings concerning: (i) the Company’s financial results for 2014 and the first

through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii) the impact on

the Company of issues related to its most important client, Anthem, creating a significant risk that

the Company would lose Anthem’s business. Defendant Paz also knowingly, recklessly, or with

gross negligence caused or allowed the Company to fail to negotiate its largest contract with its most

important client in good faith, and fail to adhere to critical contractual obligations with Anthem. Paz

is a citizen of the State of Missouri.

        30.     Defendant William L. Roper has been a director of Express Scripts since April 2012.

He also has served as the Chair of the Compliance Committee of the Express Scripts Board.

Defendant Roper knowingly or recklessly approved and allowed improper statements in the

Company’s press releases and public filings concerning: (i) the Company’s financial results for 2014

and the first through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii)

the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Defendant Roper also knowingly

or recklessly caused or allowed the Company to fail to negotiate its largest contract with its most

important client in good faith, and fail to adhere to critical contractual obligations with Anthem.

Roper is a citizen of the State of North Carolina.

        31.     Defendant Seymour Sternberg has been a director of Express Scripts since March

1992. He has also served on the Audit Committee of the Express Scripts Board. Defendant

Sternberg knowingly or recklessly approved and allowed improper statements in the Company’s

press releases and public filings concerning: (i) the Company’s financial results for 2014 and the first


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through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii) the impact on

the Company of issues related to its most important client, Anthem, creating a significant risk that

the Company would lose Anthem’s business. Defendant Sternberg also knowingly or recklessly

caused or allowed the Company to fail to negotiate its largest contract with its most important client

in good faith, and fail to adhere to critical contractual obligations with Anthem. Sternberg is a

citizen of the State of New York.

Officer Defendants

       32.     Defendant Christopher A. McGinnis has been Express Script’s Vice President, Chief

Accounting Officer, and Controller since September 2015. He previously served as Vice President

of Finance and Investor Relations from August 2014 to August 2015, as Vice President, Legal and

Business Development from April 2012 to July 2014, and as Assistant General Counsel from April

2010 to April 2012. Defendant McGinnis has served in other roles with the Company since joining

in March 2008. He knowingly or recklessly made improper statements in the Company’s press

releases and public filings concerning: (i) the Company’s financial results for 2014 and the first

through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii) the impact on

the Company of issues related to its most important client, Anthem, creating a significant risk that

the Company would lose Anthem’s business. Defendant McGinnis also knowingly, recklessly, or

with gross negligence caused or allowed the Company to fail to negotiate its largest contract with its

most important client in good faith, and fail to adhere to critical contractual obligations with

Anthem. McGinnis is a citizen of the State of Missouri.

       33.     Defendant David Queller has been Express Scripts’ Senior Vice President of Sales

and Account Management since July 2014. He knowingly or recklessly made improper statements

in the Company’s press releases and public filings concerning: (i) the Company’s financial results

for 2014 and the first through fourth quarters and full year 2015, and its financial guidance for 2016;
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and (ii) the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business.             Defendant Queller also

knowingly, recklessly, or with gross negligence caused or allowed the Company to fail to negotiate

its largest contract with its most important client in good faith, and fail to adhere to critical

contractual obligations with Anthem. Defendant Queller is also named in the Securities Class

Action complaint that alleges he violated §§10(b) and 20(a) of the Exchange Act. Queller is a

citizen of the State of Missouri.

       34.     Defendant Eric R. Slusser has been Express Scripts’ Executive Vice President and

Chief Financial Officer since September 2015. He knowingly or recklessly made improper

statements in the Company’s press releases and public filings concerning: (i) the Company’s

financial results for 2014 and the first through fourth quarters and full year 2015, and its financial

guidance for 2016; and (ii) the impact on the Company of issues related to its most important client,

Anthem, creating a significant risk that the Company would lose Anthem’s business. Defendant

Slusser also knowingly, recklessly, or with gross negligence caused or allowed the Company to fail

to negotiate its largest contract with its most important client in good faith, and fail to adhere to

critical contractual obligations with Anthem. Defendant Slusser is also named in the Securities Class

Action complaint that alleges he violated §§10(b) and 20(a) of the Exchange Act. Slusser is a citizen

of the State of Missouri.

       35.     Defendant Wentworth has been Express Scripts’ CEO and President since May 2016

and February 2014, respectively. Defendant Wentworth has been an Express Scripts director since

June 2015. Defendant Wentworth was also Express Scripts’ Senior Vice President of Sales and

Account Management from April 2012 to February 2014. Defendant Wentworth knowingly,

recklessly, or with gross negligence made improper statements in the Company’s press releases,


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investor conference calls, and public filings concerning: (i) the Company’s financial results for 2014

and the first through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii)

the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Defendant Wentworth also

knowingly, recklessly, or with gross negligence caused or allowed the Company to fail to negotiate

its largest contract with its most important client in good faith, and fail to adhere to critical

contractual obligations with Anthem. Defendant Wentworth is also named as a defendant in the

Securities Class Action complaint that alleges he violated §§10(b) and 20(a) of the Exchange Act.

Wentworth is a citizen of the State of Missouri.

Former Director and Officer Defendants

       36.     Defendant Gary G. Benanav served as a director of Express Scripts from January

2000 to May 2016. He knowingly or recklessly approved and allowed improper statements in the

Company’s press releases and public filings concerning: (i) the Company’s financial results for 2014

and the first through fourth quarters and full year 2015, and its financial guidance for 2016; and (ii)

the impact on the Company of issues related to its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Defendant Benanav also

knowingly or recklessly caused or allowed the Company to fail to negotiate its largest contract with

its most important client in good faith, and fail to adhere to critical contractual obligations with

Anthem. On information and belief, Benanav is a citizen of the State of New York or Connecticut.

       37.     Defendant James M. Havel was Express Scripts’ Executive Vice President of Finance

from September 2015 until March 2016. He was Express Scripts’ Executive Vice President and

Interim Chief Financial Officer from January 2015 to September 2015. Defendant Havel knowingly

or recklessly made improper statements in the Company’s press releases and public filings

concerning: (i) the Company’s financial results for 2014 and the first through fourth quarters and full
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year 2015, and its financial guidance for 2016; and (ii) the impact on the Company of issues related

to its most important client, Anthem, creating a significant risk that the Company would lose

Anthem’s business. Defendant Havel also knowingly, recklessly, or with gross negligence caused or

allowed the Company to fail to negotiate its largest contract with its most important client in good

faith, and fail to adhere to critical contractual obligations with Anthem. Defendant Havel is also

named in the Securities Class Action complaint that alleges he violated §§10(b) and 20(a) of the

Exchange Act. Havel is a citizen of the State of Missouri.

       38.      Defendant Christopher K. Knibb served as Vice President and Chief Accounting

Officer of Express Scripts from February 2013 to September 2015, and as Vice President Financial

Planning and Analysis from September 2015 to 2016. He knowingly or recklessly approved and

allowed improper statements in the Company’s press releases and public filings concerning: (i) the

Company’s financial results for 2014 and the first through fourth quarters and full year 2015, and its

financial guidance for 2016; and (ii) the impact on the Company of issues related to its most

important client, Anthem, creating a significant risk that the Company would lose Anthem’s

business. Defendant Knibb also knowingly or recklessly or with gross negligence caused or allowed

the Company to fail to negotiate its largest contract with its most important client in good faith, and

fail to adhere to critical contractual obligations with Anthem. Knibb is a citizen of the State of

Missouri.

            FIDUCIARY DUTIES DEFENDANTS OWED TO EXPRESS SCRIPTS

       39.      By reason of their positions as officers, directors and/or fiduciaries of Express Scripts

and because of their ability to control the business and corporate affairs of Express Scripts,

defendants owe Express Scripts and its shareholders a fiduciary duty of loyalty and care, and are

required to use their utmost ability to control and manage Express Scripts in an honest and lawful

manner. Defendants are required to act in furtherance of the best interests of Express Scripts and its
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shareholders so as to benefit all shareholders equally and not in furtherance of their personal interest

or benefit.

        40.     Each officer and director of the Company owes to Express Scripts and its

shareholders the fiduciary duty to exercise good faith in the administration of the affairs of the

Company and in the use and preservation of its property and assets and the highest obligations of fair

dealing. In addition, as officers and/or directors of a publicly held company, defendants had a duty

to promptly disseminate accurate and truthful information with regard to the Company’s operations,

performance, management, projections and forecasts so that the market price of the Company’s stock

would be based on truthful and accurate information. Each officer and director of Express Scripts

had the duty and obligation to ensure the Company operated in compliance with all applicable laws

and regulations, including, but not limited to, the federal securities laws.

        41.     By reason of their positions as Express Scripts’ officers and directors and because of

their ability to control Express Scripts’ business and corporate affairs, the defendants owed Express

Scripts and its shareholders fiduciary obligations of trust, loyalty, good faith and due care and were

required to use their utmost ability to control and manage Express Scripts in a fair, just, honest and

equitable manner. Defendants were required to act in furtherance of the best interests of Express

Scripts and its shareholders so as to benefit all shareholders equally and not in furtherance of their

personal interest or benefit.

        42.     Each defendant, as a director and/or officer of Express Scripts, owes to Express

Scripts and its shareholders the fiduciary duty to exercise good faith and diligence, as well as the

highest obligations of fair dealing, in the administration of Express Scripts’ affairs and in the use and

preservation of its property and assets.




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       43.     Defendants, because of their positions of control and authority as directors and

officers of Express Scripts, were able to and did, directly and/or indirectly, exercise control over the

wrongful acts complained of herein.

       44.     To discharge their duties, the defendants, as Express Scripts’ officers and/or directors,

were required to exercise reasonable and prudent supervision over the management, policies,

practices, and controls of the affairs of the Company. By virtue of such duties, defendants were

required to, among other things: (i) ensure that Express Scripts was operated in a diligent, honest and

prudent manner in accordance with its bylaws and charter, as well as the laws and regulations of

Delaware and the United States; (ii) conduct the affairs of the Company in an efficient, business-like

manner so as to make it possible to provide the highest quality performance of Express Scripts’

business, to avoid wasting the Company’s assets, and to maximize the value of the Company’s

stock; (iii) fully inform themselves as to how Express Scripts conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, to make reasonable

inquiry in connection therewith, and to take steps to correct such conditions or practices; (iv)

establish and maintain systematic and accurate records and reports of the business and internal

affairs of Express Scripts and procedures for the reporting of the business and internal affairs and to

periodically investigate, or cause independent investigation to be made of, said reports and records;

(v) maintain and implement an adequate and functioning system of internal legal, financial and

management controls, such that Express Scripts’ operations and financial statements comply with all

laws; (vi) exercise reasonable control and supervision over the public statements made by the

Company’s officers and employees and any other reports or information that the Company was

required by law to disseminate; and (vii) examine and evaluate any reports of examinations, audits or

other financial information concerning the financial affairs of the Company and to make full and


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accurate disclosure of all material facts concerning, inter alia, each of the subjects and duties set

forth above.

        45.     Each defendant, by virtue of his or her position as a director or officer, owed to the

Company and to its shareholders the highest fiduciary duties of loyalty and good faith and the

exercise of due care and diligence in the management and administration of the affairs of the

Company, as well as in the use and preservation of its property and assets. Defendants’ misconduct

complained of herein involves a knowing and culpable violation of their obligations as Express

Scripts’ directors and officers, the absence of good faith on their part, or a reckless disregard for their

duties to the Company and its shareholders, which the defendants were aware or should have been

aware posed a risk of serious injury to the Company. The conduct of defendants who were officers

of the Company has been ratified by the remaining defendants who collectively comprised Express

Scripts’ Board at all relevant times.

        46.     As senior executive officers and directors of a publicly traded company whose

common stock was registered with the SEC pursuant to the Exchange Act, defendants had a duty to

disseminate accurate and truthful information with respect to the Company’s financial condition and

performance, growth, operations, financial statements, business, products, management, earnings

and present and future business prospects; and to correct any previously issued statements that had

become materially misleading or untrue, so that the market price of the Company’s common stock

would be based upon truthful and accurate information. Defendants’ conduct in causing the

Company to make misrepresentations and omissions during the relevant period violated these

specific requirements and obligations. Accordingly, the defendants breached their fiduciary duties,

including their duties of good faith, candor and loyalty.




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       47.     Defendants were required to exercise reasonable and prudent supervision over the

management, policies, practices and internal controls of the Company. By virtue of such duties,

defendants were required to, among other things: (i) ensure that the Company complied with its legal

obligations and requirements, including acting only within the scope of legal authority and

disseminating truthful and accurate statements to the investing public; (ii) conduct the affairs of the

Company in an efficient, business-like manner so as to make it possible to provide the highest

quality performance of its business, to avoid wasting the Company’s assets, and to maximize the

value of the Company’s stock; (iii) properly and accurately guide investors and analysts as to the

true financial condition of the Company at any given time, including making accurate statements

about the Company’s financial results and internal controls; (iv) remain fully informed as to how

Express Scripts conducted its operations, and, upon receipt of notice or information of imprudent or

unsound conditions or practices, make reasonable inquiry in connection therewith, and take steps to

correct such conditions or practices and make such disclosures as are necessary to comply with

securities laws; (v) ensure that Express Scripts was operated in a diligent, honest and prudent manner

in compliance with all applicable laws, rules and regulations; and (vi) refrain from breaching their

duty of loyalty to the Company to benefit themselves at the expense of the Company.

       48.     At all times relevant hereto, the defendants were the agents of each other and were at

all times acting within the course and scope of such agency.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       49.     In committing the wrongful acts alleged herein, defendants have pursued, or joined in

the pursuit of, a common course of conduct, and have acted in concert with and conspired with one

another in furtherance of their common plan or design. In addition to the wrongful conduct herein

alleged as giving rise to primary liability, defendants further aided and abetted and/or assisted each

other in breaching their respective duties.
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       50.     During all times relevant hereto, defendants, collectively and individually, initiated a

course of conduct that was designed to and did: (i) deceive the investing public, including

stockholders of Express Scripts, regarding defendants’ management of Express Scripts’ operations;

(ii) cause the Company to make improper statements in its press releases and public filings

concerning its financial results and financial guidance; (iii) conceal the impact on the Company of

issues related to its most important client, Anthem, in turn creating a significant risk that the

Company would lose Anthem’s business; and (iv) enhance defendants’ executive and directorial

positions at Express Scripts and the profits, power and prestige defendants enjoyed as a result of

holding these positions. In furtherance of this plan, conspiracy, and course of conduct, defendants,

collectively and individually, took the actions set forth herein.

       51.     Defendants engaged in a conspiracy, common enterprise and/or common course of

conduct. During this time, defendants caused the Company to issue improper financial statements.

       52.     The purpose and effect of defendants’ conspiracy, common enterprise and/or common

course of conduct was, among other things, to disguise defendants’ violations of law, breaches of

fiduciary duty and unjust enrichment; and to conceal adverse information concerning the Company’s

operations, financial condition and future business prospects.

       53.     Defendants accomplished their conspiracy, common enterprise and/or common

course of conduct by causing the Company to purposefully or recklessly release improper

statements. Because the actions described herein occurred under the authority of the Board, each of

the defendants was a direct, necessary, and substantial participant in the conspiracy, common

enterprise, and/or common course of conduct complained of herein.

       54.     Each of the defendants aided and abetted and rendered substantial assistance in the

wrongs complained of herein. In taking such actions to substantially assist the commission of the


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wrongdoing complained of herein, each defendant acted with knowledge of the primary wrongdoing,

substantially assisted in the accomplishment of that wrongdoing, and was aware of his or her overall

contribution to and furtherance of the wrongdoing.

                                SUBSTANTIVE ALLEGATIONS

       55.     Express Scripts is the largest independent PBM company in the United States. As a

PBM, Express Scripts administers the prescription drug benefit component of its customers’ health

insurance plans. Express Scripts also negotiates drug prices with pharmacies and establishes a

network of pharmacies through which patients can fill their prescriptions. As part of its PBM

services, the Company provides Medicare Part D-related products and services to Medicare Part D

plan sponsors.1 The Company’s PBM services accounted for over 97% of its revenues over the past

three years.

       56.     According to the Company’s 2015 Form 10-K, Express Scripts operates in a highly

competitive industry, where a substantial portion of its business is concentrated in certain significant

client contracts. The 2015 Form 10-K further provides that the Company’s ability to remain

profitable in the marketplace depends on its continued ability to attract and retain clients. Notably,

the Company’s larger clients typically seek competing bids from its competitors prior to contract

expiration, and can easily move between Express Scripts and its competitors, potentially making it

difficult for the Company to retain existing clients. It is therefore crucial for the Company to resolve

any issues that may arise under these key client contracts. The negative reputational impact of a

significant event, including a failure to execute on client contracts, could affect the Company’s

ability to grow and retain profitable clients, which could have a material adverse effect on its

business and results of operations.

1
       Enacted on January 1, 2006, Medicare Part D is a stand-alone federal program designed to
subsidize the costs of prescription drugs for Medicare beneficiaries in the United States.

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       57.     In December 2009, Express Scripts acquired certain subsidiaries of Anthem that

provided PBM services. In conjunction with the acquisition, Express Scripts entered into the 10-

year Agreement under which it would provide PBM services to members of the affiliated health

plans of Anthem. Express Scripts then integrated Anthem’s former PBM clients into Express

Scripts’ systems and operations. As a result of that contract, Anthem, one of the largest health

benefits companies in the United States, became Express Scripts’ most important client. Anthem is

Express Scripts’ largest client, alone representing approximately 14% of Express Scripts’ annual

revenues. Accordingly, the Company’s relationship with Anthem and its ability to provide Anthem

with high quality service is of paramount importance to investors.

       58.     As was recently revealed in the Anthem Complaint and detailed below, by no later

than February 16, 2015, Anthem began repeatedly notifying Express Scripts that the Company was

failing to perform under the terms of the Agreement for a number of specified reasons and that

Anthem consequently had the right to terminate the Agreement on that basis. Nonetheless,

throughout 2015 and the first quarter of 2016, defendants repeatedly assured investors that Express

Scripts’ relationship with Anthem remained strong and that it was providing Anthem, and all of its

customers, with high quality service. At the same time, defendants also misleadingly touted that the

Company was performing at a high level, financially and operationally.

                   EXPRESS SCRIPTS’ AGREEMENT WITH ANTHEM

       59.     Anthem and Express Scripts are parties to the Agreement under which Express

Scripts serves as the exclusive provider of PBM services for health insurance plans administered and

insured by Anthem’s affiliated health plans for a 10-year period from 2009 through 2019, unless

terminated earlier. Pursuant to the Agreement, Express Scripts is and was subject to certain pricing

provisions, as well as operational provisions, as detailed below.


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       60.     The Agreement contains a “Periodic Pricing Review” provision that provides for

repricing at specified intervals “to negotiate in good faith” in order to “ensure that [Anthem] is

receiving competitive benchmark pricing.” Given the Agreement’s 10-year term and that the cost of

drugs is a key driver in the health insurance industry, this provision ensured that Express Scripts’

pricing over time to Anthem was competitive in the marketplace. The Agreement further detailed

that in the event Anthem or its third-party consultant determined that such pricing terms were not

competitive, Anthem would have the ability to propose renegotiated pricing terms to Express Scripts

and Express Scripts agreed to negotiate in good faith over the proposed new pricing terms.

       61.     The Agreement also contains a provision that requires Express Scripts to perform

services under the Agreement “in a prudent and expert manner in accordance with this Agreement

and all laws.” Among its several obligations, Express Scripts was obligated to review prior

authorization requests for certain prescription drugs in accordance with formulary and clinical

guidelines (“Defined Criteria”). Secondly, Express Scripts was required to perform its Medicare

Part D functions in accordance with Medicare regulations and CMS instructions. Indeed, CMS

requires sponsors of Medicare Part D prescription drug plans, such as Anthem, to submit to CMS a

data file containing information with respect to each claim for a prescription drug paid by the

sponsor under the given plan, also known as PDE data. Pursuant to the Agreement, Express Scripts

is and was responsible for collecting, creating and submitting PDE files to CMS within the

appropriate timeframe. In essence, Express Scripts is responsible for collecting, creating and

submitting PDE data in the format and timeframe specified by CMS. Thirdly, Express Scripts was

obligated to satisfy CMS mandated TATs with respect to processing Medicare Part D claims.

Specifically, the Company was required to expeditiously investigate and review submitted claims for

eligibility and what amount, if any, was payable; provide notification as to the disposition of such


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claims; and request such further information as was needed to complete the claim. CMS’s Medicare

Part D rules also require coverage determinations to be processed within specified timeframes, and

upon any failure to do so, the applicable case must be automatically forwarded to a CMS-designated

Independent Review Entity (“IRE”).

                DEFENDANTS MISREPRESENTED EXPRESS SCRIPTS’
              PURPORTEDLY STRONG RELATIONSHIP WITH ANTHEM

       62.     According to the Anthem Complaint, Express Scripts began breaching its operational

obligations pursuant to the Agreement in early 2014, by failing to satisfy CMS mandated TATs with

respect to processing Medicare Part D claims. As a result of Express Scripts’ inadequate

performance, on February 4, 2014, Anthem issued a corrective action plan for the Company’s failure

to process and provide notification of coverage determinations within the time periods specified by

CMS. Despite the corrective action plan, Express Scripts failed to implement an adequate

information technology system to handle these claims, which resulted in the submission of many

cases to a CMS-designated IRE for determination. Anthem alleged that these operational breaches

were pervasive and were attributable to systemic defects in Express Scripts’ information technology

infrastructure, failure to devote sufficient resources to its obligations, inadequate training of its

personnel, inordinately high turnover and a lack of necessary expertise.

       63.     One year after being notified of the Company’s contractual failures, defendants were

again put on notice of those contractual breaches on February 16, 2015, when Anthem sent Express

Scripts a formal notice of breach of the Agreement due to the Company’s failure to perform its

operational obligations under the Agreement. Anthem further informed the Company that it

consequently had the right to terminate the Agreement.

       64.     On February 23, 2015, just one week after Express Scripts received its first formal

notice of default from Anthem, Express Scripts filed with the SEC its Annual Report on Form 10-K

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for the year ended December 31, 2014 (the “2014 Form 10-K”). The 2014 Form 10-K was signed

by defendants Paz, Havel, Knibb, Benanav, Breen, DeLaney, LaHowchic, Mac Mahon,

Mergenthaler, Myers, Palmore, Roper and Sternberg. While the 2014 Form 10-K acknowledged that

the Company’s financial results would be materially adversely affected if a large client changed the

terms of a contract, it failed to acknowledge that this event was already currently occurring. In

relevant part, the 2014 Form 10-K stated:

               If one or more of our large clients either terminates or does not renew a
       contract for any reason or if the provisions of a contract with a large client are
       modified, renewed or otherwise changed with terms less favorable to us, our
       financial results could be materially adversely affected and we could experience a
       negative reaction in the investment community resulting in stock price declines or
       other adverse effects.

The 2014 Form 10-K also generally warned that “the administration of the Medicare Part D program

is complex and any failure to effectively execute the provisions of the Medicare Part D program may

have an adverse effect on our financial position.”

       65.     The 2014 Form 10-K failed to disclose, however, that at this time, Express Scripts

was already failing to execute the operational provisions in the Agreement with Anthem related to

Medicare Part D. According to the Anthem Complaint, Express Scripts had failed to build a

functional information technology system with the capacity to reprocess claims consistently, issue

correct refunds to or collect from members, and resubmit accurate PDE records in accordance with

CMS mandates. This failure resulted in high volumes of PDE rejections, incorrect calculations

being used by CMS for financial reconciliations, and compliance risk for non-adherence to CMS’s

PDE timeliness rules. Not only did Express Scripts’ failure to satisfy its contractual obligations

place Anthem at risk for CMS enforcement actions, many of which carry negative financial and

reputational consequences to Anthem’s business, it further harmed Anthem by causing member

abrasion and dissatisfaction.

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       66.     Despite their awareness of Express Scripts’ contractual breaches to the Agreement, on

February 25, 2015, defendants continued to make improper statements about the purported strength

of the Company’s relationship with Anthem in a conference call with analysts and investors. During

the conference call, defendant Queller stated: “[W]e’ve got a great relationship with Anthem. . . .

Our teams work together closely each and every day. The relationship is very, very solid.”

Although defendant Queller vaguely acknowledged the ongoing contract negotiations with Anthem,

he did not provide any details, instead assuring investors that “we look forward to having them as a

client through the end of the contract term which is at the end of 2019 and we’d love to have them

for a longer time as well.”

       67.     According to the Anthem Complaint, in the following weeks, the parties attempted to

reach a solution pursuant to a three-step dispute resolution process detailed in the Agreement. The

parties’ Joint Pharmacy Operating Committee (“JPOC”), which had fifteen days to attempt to

resolve the dispute, met on March 6, 2015, and again on April 15, 2015, but did not come to a

resolution.

       68.     As detailed in the Anthem Complaint, on March 18, 2015, Anthem notified Express

Scripts that it had conducted a market analysis and had determined that the pricing terms contained

in the Agreement were not competitive. Anthem proposed new pricing terms and requested that

Express Scripts provide Anthem, no later than March 30, 2015, either confirmation that the pricing

terms constituted competitive market pricing or alternative pricing terms that Express Scripts in good

faith proposed as competitive benchmark pricing. Express Scripts provided neither.

       69.     The Anthem Complaint also reveals that on April 1, 2015, Anthem provided Express

Scripts with another formal notice of breach, this time detailing the Company’s breaches related to

the Agreement’s pricing provisions.       Anthem stated that the Company was repudiating its


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obligations by claiming that it did not have to negotiate for competitive benchmark pricing and that

it had a veto right over any negotiations. Express Scripts continued to refuse to negotiate at all,

failed to agree in writing to new pricing terms, and failed to make any proposal for competitive

benchmark pricing.

        70.    On April 28, 2015, less than a month after receiving the second formal notice of

breach from Anthem, defendants caused or allowed Express Scripts to tout its ability to retain clients

in a press release in which it announced its financial results for the first quarter ended March 31,

2015. In the press release, defendant Wentworth highlighted that the quality of the Company’s

product offerings drove client retention, stating, “‘Our model . . . is embedded in our innovative

solutions that are clearly differentiated and in high demand.’”

        71.    That same day, Express Scripts reiterated the financial results in its Quarterly Report

on Form 10-Q for the first quarter of 2015, filed with the SEC. The Form 10-Q was signed by

defendants Paz and Havel, both of whom attested to the purported accuracy and completeness of the

Form 10-Q. In the Form 10-Q, the Company incorporated by reference the general risk warnings

included in 2014 Form 10-K. Still, the Company failed to mention that it was already experiencing

these risks.

        72.    On April 29, 2015, Express Scripts held a conference call with analysts and investors

to discuss the Company’s earnings and operations. During the conference call, defendant Paz again

painted the Company’s relationship with Anthem in a positive light, stating that “Anthem is an

incredibly important client to us. And I think we do very good things together.” Defendant Paz

elaborated further, noting that Express Scripts “really enjoy[s] that relationship” and “really enjoy[s]

providing services to their members.” In contrast to these positive statements, Express Scripts and

Anthem were making no progress in their contract negotiations to the Agreement, the relationship


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between the two companies was in serious jeopardy, and Anthem had already notified Express

Scripts’ on multiple occasions that the Company had breached the pricing provisions and operational

provisions of the Agreement.

       73.      As disclosed in the Anthem Complaint, pursuant to the dispute resolution clause in

the Agreement, the parties thereafter underwent step two of the three-step process. Specifically, the

Presidents of Anthem and Express Scripts met on May 27, 2015, but failed to resolve the dispute at

the time.

       74.      As the dispute with Anthem continued, Express Scripts continued to make improper

statements about its strong client relationships in its July 28, 2015 press release, which announced its

financial results for the second quarter ended June 30, 2015. In the press release, defendant Paz

stated that the Company’s “‘business model [is] fully aligned with client needs’” and is “‘focused on

our clients’ best interests.’” Defendant Paz further stated that “‘Express Scripts is well positioned to

serve clients through focused scale, alignment and innovative solutions which will drive value and

earnings growth in the future.’” Defendant Wentworth further elaborated, stating, “‘We are proud of

the relationships we have built with clients . . . who are more interested than ever in what Express

Scripts can do for them and their members.’” No mention was made of the Company’s inability to

resolve its ongoing dispute with Anthem.

       75.      That same day, Express Scripts filed its Quarterly Report on Form 10-Q for the

second quarter of 2015 with the SEC, reiterating the financial results in the press release. The Form

10-Q was signed by defendants Paz and Havel, both of whom attested to the purported accuracy and

completeness of the Form 10-Q. In the Form 10-Q, Express Scripts again incorporated by reference

the general warnings included in 2014 Form 10-K. The Company continued to omit that such risks

related to its key client contract with Anthem had already occurred.


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       76.     On July 29, 2015, Express Scripts held an earnings conference call with analysts and

investors during which defendants continued to evade and sidestep the Company’s issues with

Anthem. During the conference call, defendant Wentworth touted the Company’s strong client

retention rate, stating that Express Scripts’ “performance to date and the positive feedback we

continue to receive gives us confidence that we will have strong retention across the board.”

Defendant Wentworth also stated that the Company’s “business outlook remains strong and our

momentum continues” and touted the Company’s “close collaboration with our clients.” As Express

Scripts continued to boast about its solid client relationships, investors remained unaware of the

Company’s struggles with Anthem, its largest and most important client.

       77.     According to the Anthem Complaint, Express Scripts continued to violate the

operational provisions of the Agreement. Express Scripts agreed to a corrective action plan on

August 26, 2015, but the violations persisted. Anthem discovered that Express Scripts did not have

an automated process for Medicare claims and that its current process lacked adequate internal

controls. Notably, Medicare Part D plan members were denied reimbursement inappropriately, did

not receive the CMS-required notice of the plan’s decision on their reimbursement request, and were

not given CMS-required appeal rights.

       78.     On October 27, 2015, the Company discussed its expectations regarding client

retention in a press release that announced its financial results for the third quarter ended September

30, 2015. Specifically, defendant Wentworth stated that the Company was “‘confident in the upper

range of our expected retention rate, a reflection of the trust clients have in Express Scripts.’”

Defendant Wentworth also boasted that the Company’s “‘unique collection of cost-saving solutions

and our business model of client alignment position us well for continued growth.’” Defendant




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Wentworth projected an increasing retention rate, despite the fact that the Company was in jeopardy

of losing business with its largest client.

        79.     That same day, Express Scripts filed with the SEC its Quarterly Report on Form 10-Q

for the third quarter of 2015, reiterating the financial results from its press release. The Form 10-Q

was signed by defendants Paz and Slusser and contained certifications by defendants Paz and Slusser

that attested to the purported accuracy and completeness of the Form 10-Q. In the Form 10-Q, the

Company incorporated by reference the general warnings included in 2014 Form 10-K. Express

Scripts continued to omit that such risks had already materialized.

        80.     Express Scripts held a conference call with analysts and investors on October 28,

2015, to discuss the Company’s earnings and operations. During the conference call, defendant

Wentworth yet again elaborated on Express Scripts’ purported strong relationship with its clients.

Specifically, defendant Wentworth stated that, “[b]ased on our results this year, we are confident

about next year’s selling and retention season.” Defendant Wentworth also emphasized that, among

other things, the Company’s “strong client relationships position [it] well for 2016,” and that Express

Scripts “will keep [its] clients and patients in the center of everything” it does. At this point, Express

Scripts’ relationship with Anthem was in shambles, yet no mention of this problem was made during

the conference call.

        81.     As noted in the Anthem Complaint, in a final attempt to resolve the dispute, the

parties initiated step three of the three-step dispute resolution process. On November 9, 2015,

Anthem and Express Scripts underwent mediation to no avail. The dispute resolution process was

therefore exhausted, and the parties were no closer to a resolution than they were nearly nine months

ago when Anthem first notified Express Scripts of its contractual breaches to the Agreement.




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        82.     On December 22, 2015, Express Scripts addressed its ongoing pricing negotiations

with Anthem in a conference call with analysts and investors. During the conference call, defendant

Paz assured investors that Express Scripts was “fully committed to reaching a mutually beneficial

agreement, and continuing our successful working relationship.” Defendant Paz also stated that

“[s]ince 2009, we have delivered quality care for Anthem’s members.” Lastly, defendant Paz stated

that discussions with Anthem were “very early on” and that the Company believed that there was a

great opportunity for it to work with Anthem towards a mutually beneficial arrangement. At this

point, however, the parties had undergone all phases of the dispute resolution process and had come

no closer to reaching such mutually beneficial arrangement.

        83.     The Anthem Complaint notes that nearly one year after Anthem brought these issues

to the attention of Express Scripts, on January 7, 2016, Express Scripts forwarded a proposal that

would reduce pricing by only $1 billion, a mere 8% of what Anthem stated it was entitled to receive

under the Agreement. When Anthem responded to this proposal, advising Express Scripts that it

would be willing to accept less than competitive benchmark pricing to resolve the issue, Express

Scripts did not respond. Representatives of Anthem then traveled to St. Louis on February 3, 2016,

to meet with defendant Wentworth, but the meeting was not productive. Express Scripts maintained

its position that it was not obligated to negotiate, and Anthem offered to accept a pricing reduction of

only $9.7 billion, over term, which was $3.4 billion less than what Anthem was entitled to receive, in

order to resolve the dispute without litigation. Express Scripts responded by reiterating its January 7,

2016 proposal, which amounted to $12 billion in excess of competitive benchmark pricing. Express

Scripts’ officials refused to come to an agreement and, in so doing, put the Company in jeopardy of

losing its largest client.




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        84.      According to the Anthem Complaint, on February 12, 2016, Express Scripts

responded with a proposal that did not reduce pricing by a single dollar from its January 7, 2016

proposal. Anthem again expressed to the Company that Express Scripts’ refusal to negotiate was in

bad faith.

        85.      On March 1, 2016, Anthem’s CEO traveled to Chicago to meet with defendant Paz to

negotiate, again to no avail. Express Scripts continued to refuse to negotiate at all over the pricing

terms proposed by Anthem for competitive benchmark pricing. This fruitless exchange had now

been transpiring for nearly a full year, and on March 17, 2016, Express Scripts responded with a

refusal to update its February 12, 2016 proposal. Throughout these fruitless exchanges, Express

Scripts’ investors were oblivious to the fact that the Company was in serious danger of losing its

largest source of revenue.

                                     THE TRUTH EMERGES

        86.      Defendants’ unlawful scheme continued unabated until early 2016. Then, beginning

on January 12, 2016, the truth began to emerge. On January 12, 2016, Anthem publicly threatened

to terminate its relationship with Express Scripts unless the Company would renegotiate its

Agreement with Anthem to deliver significant savings on drug costs. Anthem’s CEO, Joseph

Swedish, stated that Anthem was entitled to lower pharmaceutical pricing that equates to an annual

savings of more than $3 billion. Mr. Swedish also stated that if Express Scripts remained unwilling

to renegotiate drug pricing, Anthem would look for another PBM partner that could give it better

prices. Further, Thomas Zielinski, Anthem’s general counsel, stated that the dispute resolution

process in the Agreement had been fully exhausted, indicating little time remained for the companies

to arrive at a solution. Both the scale of the pricing concessions Anthem was seeking and the threat

to terminate the Express Scripts relationship provided investors with the first indication that relations

between the two companies had seriously declined during contract negotiations, and that Express
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Scripts risked losing Anthem’s business. As a result of these disclosures by Anthem, on January 13,

2016, the price of Express Scripts’ shares fell $5.89 per share, representing a $3.9 billion loss in

market capitalization.

        87.     Faced with Anthem’s threat to terminate its relationship with Express Scripts,

defendants continued to mislead the investing public by claiming that they and the Company acted in

good faith and were in full compliance with the terms of the Agreement with Anthem. On February

16, 2016, the Company issued a press release announcing its financial results for the fourth quarter

and year ended December 31, 2015. In the press release, defendant Wentworth stated that 2015 was

the Company’s “‘strongest retention year ever’” and that “‘Express Scripts has momentum that

maintains our confidence in our 2016 guidance and justifies our excitement about our future.’”

Defendant Wentworth also stated that the Company was “‘well positioned to drive growth and

deliver value to clients and shareholders.’” These misrepresentations wrongfully assured investors

that the Company was in a stable position when, in fact, it was in jeopardy of losing its largest client,

or 14% of its revenue.

        88.     That same day, the Company filed its 2015 Form 10-K. The 2015 Form 10-K was

signed by defendants Paz, Wentworth, Slusser, McGinnis, Benanav, Breen, DeLaney, Granger,

LaHowchic, Mac Mahon, Mergenthaler, Myers, Palmore, Roper and Sternberg, each of whom

reviewed and approved issuance of the 2015 Form 10-K. In 2015 Form 10-K, the Company again

warned that:

                If one or more of our large clients either terminates or does not renew a
        contract for any reason or if the provisions of a contract with a large client are
        modified, renewed or otherwise changed with terms less favorable to us, our
        financial results could be materially adversely affected and we could experience a
        negative reaction in the investment community resulting in stock price declines or
        other adverse effects.



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However, the Company did not provide detail on the true deteriorating state of its relationship with

Anthem.

       89.     Rather, in the 2015 Form 10-K, the Company downplayed the pricing review

negotiations with Anthem. Specifically, Express Scripts misleadingly stated that it was “actively

engaged in good faith discussions with Anthem and intend[s] to continue to comply with the

requirements of the agreement.”

       90.     In the 2015 Form 10-K, the Company again generally warned that “[t]he

administration of Medicare Part D is complex and any failure to effectively execute the provisions of

Medicare Part D may have an adverse effect on our business and our results of operations.” The

Company omitted that such risks had already materialized approximately one year earlier.

       91.     Express Scripts held a conference call with analysts and investors on February 17,

2016, during which Company officials implemented damage control related to Anthem’s public

comments concerning the pending contract negotiations to the Agreement. During the conference

call, defendant Paz assured investors that Express Scripts was “performing at a high level financially

and operationally” and that “[o]ur team is delivering great service to Anthem and its members.”

Defendant Paz also stated that the Company “remain[ed] fully committed to good faith negotiations

in hopes of reaching a mutually beneficial agreement within the framework of our 2009 contract.”

In addition, defendant Paz again attempted to quell investor concern about the ongoing price check,

noting that the pricing negotiations are “pretty routine” and that the Company conducts “bunches of

those, every year.”

       92.     The contract negotiations between Anthem and Express Scripts failed greatly, and on

March 21, 2016, Anthem sued Express Scripts, alleging that the Company breached its contract with

Anthem by failing perform operational duties in a “prudent and expert manner” and failing to


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negotiate pricing terms in good faith. As a result, Anthem is seeking $15 billion in damages and to

be released from its obligations in its contract with Express Scripts.

         93.   This most recent news caused another $1.2 billion fall in Express Scripts’ market

capitalization. Between January 1, 2016, and March 22, 2016, the Company’s market capitalization

fell nearly $12.8 billion, or approximately 22%.

         94.   Analysts were surprised by Anthem’s allegations and immediately questioned

whether Express Scripts had adequately disclosed the precariousness of the Company’s relationship

with Anthem. For example, analysts at Leerink Partners stated that the Company was “under-

estimating [Anthem’s] desire and willingness to walk away from their contract.” The Leerink

Partners analysts also stated that the Company’s relationship with Anthem “has deteriorated to a

point where the most likely outcome is termination of the contract either before or at the 2019 end-

date.”

         95.   Analysts at Deutsche Bank Markets Research agreed that Express Scripts was over-

charging Anthem, stating that Anthem could be overpaying Express Scripts by more than $7.50 per

script, or more than $1.35 billion versus the prevailing market rate today. This figure could be

significantly higher if Anthem’s rate in 2012 was not set to the prevailing market rate at the time, or

if Anthem’s script count was higher than analyst estimates. The analysts further estimated that

Express Scripts could be generating excess unshared rebates in the $600 million to $650 million

range. Deutsche Bank Markets Research analysts further stated that they believed Express Scripts

over-earns on the contract, likely close to $2 billion. In addition, in a Morningstar Equity Analyst

Report, analysts stated that they believed Express Scripts will need to concede a certain amount of

current economics to Anthem for the contract renewal.




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       96.      In truth, defendants’ positive statements were false when made because they failed to

disclose and misrepresented the following material adverse facts that defendants knew, consciously

disregarded, or were reckless in not knowing:

                (a)    the Company was experiencing known but undisclosed issues related to

contract negotiations with its largest and most important client, Anthem;

                (b)    Anthem had already served the Company with multiple notices of default;

                (c)    these issues created a significant risk that the Company would lose Anthem’s

business; and

                (d)    as a result of the foregoing, defendants’ representations concerning Express

Scripts’ relationship with its largest customer were inaccurate and misleading, as were the

Company’s financial results for 2014 and the first through fourth quarters and full year 2015, and its

financial guidance for 2016.

                               DAMAGES TO EXPRESS SCRIPTS

       97.      Express Scripts has been severely damaged. As a result of defendants’ faithless acts,

the Company disseminated improper public statements concerning: (i) the Company’s financial

results for 2014 and the first through fourth quarters and full year 2015, and its financial guidance

for 2016; and (ii) the impact on the Company of issues related to its most important client, Anthem,

creating a significant risk that the Company would lose Anthem’s business. These improper

statements have devastated Express Scripts’ credibility as reflected by the Company’s almost $12.8

billion, or 22%, market capitalization loss.

       98.      Express Scripts’ performance issues also damaged its reputation within the business

community and in the capital markets. In addition to price, Express Scripts’ current and potential

customers also consider a company’s ability to comply with its contractual obligations and to

accurately value its business prospects and evaluate growth potential and perform on client contracts.
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Businesses are less likely to award contracts to companies that are uncertain about their own

financial conditions and that are unable to perform on contracts. Express Scripts’ ability to attract

and retain potential customers is now impaired.

        99.     In addition, Express Scripts may be liable for potential damages related to the CMS

violations that occurred as a result of the operational breaches pursuant to the Agreement and may

have lost its most important client.

        100.    Further, as a direct and proximate result of defendants’ actions, Express Scripts has

expended, and will continue to expend, significant sums of money. Such expenditures include, but

are not limited to:

                (a)     costs incurred from defending and paying any settlement in the Securities

Class Action for violations of federal securities laws;

                (b)     costs incurred from defending and paying any settlement in the action brought

by Anthem; and

                (c)     costs incurred from compensation and benefits paid to the defendants who

have breached their duties to Express Scripts.

                                 DERIVATIVE ALLEGATIONS

        101.    Plaintiffs incorporate ¶¶1-100.

        102.    Express Scripts is named as a nominal defendant solely in a derivative capacity. This

is not a collusive action to confer jurisdiction on this Court that it would not otherwise have.

Plaintiffs will adequately and fairly represent the interests of Express Scripts in the derivative claims.

        103.    The Express Scripts’ Board has twelve members. They are defendants Paz, Breen,

DeLaney, Granger, LaHowchic, Mac Mahon, Mergenthaler, Myers, Palmore, Roper, Sternberg and

Wentworth. Plaintiffs have not made a pre-suit demand on the Express Scripts Board to institute this

action, because such a demand would be a futile and useless act, and therefore, is excused.
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          104.   First defendants Paz, Breen, DeLaney, Granger, LaHowchic, Mac Mahon,

Mergenthaler, Myers, Palmore, Roper, Sternberg and Wentworth breached their fiduciary duties of

loyalty by making, approving, or allowing the Company to make improper statements in its press

releases and public filings concerning the Company’s deteriorating relationship with Anthem as well

as its financial results for 2014 and the first through fourth quarters and full year 2015, and its

financial guidance for 2016. These defendants repeatedly made, approved, or allowed these

improper statements for well over a year while at the same time the Company was receiving repeated

breach of contract notifications from Anthem, the Company’s largest and most important customer.

          105.   Second defendants Sternberg, LaHowchic, Mergenthaler and DeLaney, as members

of the Audit Committee, reviewed and approved the improper statements. Despite their knowledge

or reckless disregard of the impropriety of the statements, these Audit Committee members approved

their dissemination. Accordingly, defendants Sternberg, LaHowchic, Mergenthaler and DeLaney

breached their fiduciary duty of loyalty and good faith because they participated in the wrongdoing

described herein. Thus, defendants Sternberg, LaHowchic, Mergenthaler and DeLaney face a

substantial likelihood of liability for their breach of fiduciary duties, so any demand upon them is

futile.

          106.   Third, defendants Sternberg, LaHowchic, Mergenthaler and DeLaney were required

to “discuss with management . . . the Company’s major financial risk exposures,” and thus knew or

should have known about the significant issues the Company was experiencing related to its contract

negotiations with Anthem and the challenges to its financial results for 2014 and the first through

fourth quarters and full year 2015, and to its financial guidance for 2016. Despite their knowledge or

reckless disregard, defendants Sternberg, LaHowchic, Mergenthaler and DeLaney caused these

improper statements to be made. Accordingly, defendants Sternberg, LaHowchic, Mergenthaler and


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DeLaney breached their fiduciary duties of loyalty and good faith because they participated in the

wrongdoing described herein. Thus, defendants Sternberg, LaHowchic, Mergenthaler and DeLaney

face a substantial likelihood of liability for their breach of fiduciary duties so any demand upon them

is futile.

         107.     Fourth, defendants Paz, Breen, DeLaney, Granger, LaHowchic, Mac Mahon,

Mergenthaler, Myers, Palmore, Roper, Sternberg and Wentworth had the responsibility to ensure the

Company engaged in good-faith contract negotiations with its largest and most important client,

Anthem. As the Company’s most important client and the source of 14% of the Company’s

revenues, Anthem was vital to the stability and profitability of the Company. Despite repeated

notifications and requests from Anthem, these defendants did not ensure that the Company

negotiated in good faith. Defendants Paz, Breen, DeLaney, Granger, LaHowchic, Mac Mahon,

Mergenthaler, Myers, Palmore, Roper, Sternberg and Wentworth also failed to disclose to the public

that the Company was in jeopardy of losing this vital client due to their refusal to negotiate in good

faith.       Therefore, defendants Paz, Breen, DeLaney, Granger, LaHowchic, Mac Mahon,

Mergenthaler, Myers, Palmore, Roper, Sternberg and Wentworth breached their fiduciary duties to

the Company. Accordingly, defendants Paz, Breen, DeLaney, Granger, LaHowchic, Mac Mahon,

Mergenthaler, Myers, Palmore, Roper, Sternberg and Wentworth face a substantial likelihood of

liability for their breach of fiduciary duties, rendering any demand upon them futile.

         108.     Fifth, Paz, Breen, DeLaney, Granger, LaHowchic, Mac Mahon, Mergenthaler, Myers,

Palmore, Roper, Sternberg and Wentworth were also responsible for ensuring the Company was

complying with applicable laws and regulations, including CMS regulations, particularly with

respect to performance under the Agreement. Despite knowing that the Company’s computer

system was deficient for meeting CMS requirements, these defendants failed to take any meaningful


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action to resolve the impacted records and resolve the deficiencies. Therefore, defendants Paz,

Breen, DeLaney, Granger, LaHowchic, Mac Mahon, Mergenthaler, Myers, Palmore, Roper,

Sternberg and Wentworth breached their fiduciary duties to the Company. Accordingly, defendants

Paz, Breen, DeLaney, Granger, LaHowchic, Mac Mahon, Mergenthaler, Myers, Palmore, Roper,

Sternberg and Wentworth face a substantial likelihood of liability for their breach of fiduciary duties,

rendering any demand upon them futile.

                                              COUNT I

                     (Against All Defendants for Breach of Fiduciary Duty)

        109.    Plaintiffs incorporate ¶¶1-108.

        110.    Defendants owed and owe Express Scripts fiduciary obligations. By reason of their

fiduciary relationships, defendants owed and owe Express Scripts the highest obligation of good

faith, fair dealing, loyalty and due care.

        111.    Defendants and each of them, violated and breached their fiduciary duties of candor,

good faith and loyalty. More specifically, defendants violated their duty of good faith by making

false and misleading statements concerning the Company’s financial prospects and its relationship

with Express Scripts’ largest and most important customer.

        112.    Defendants either knew, were reckless, or were grossly negligent in not knowing: (i)

the Company’s financial results for 2014 and the first through fourth quarters and full year 2015, and

its financial guidance for 2016, were overstated; and (ii) the Company was experiencing serious

issues related to bad-faith contract negotiations with its most important client, Anthem, creating a

significant risk that the Company would lose Anthem’s business. Accordingly, defendants breached

their fiduciary duties to the Company.




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       113.    As a direct and proximate result of defendants’ breaches of their fiduciary obligations,

Express Scripts has sustained significant damages, as alleged herein. As a result of the misconduct

alleged herein, these defendants are liable to the Company.

       114.    Plaintiffs, on behalf of Express Scripts, have no adequate remedy at law.

                                            COUNT II

                        (Against All Defendants for Unjust Enrichment)

       115.    Plaintiffs incorporate ¶¶1-108.

       116.    By their wrongful acts and omissions, defendants were unjustly enriched at the

expense of and to the detriment of Express Scripts. Defendants were unjustly enriched as a result of

the compensation and director remuneration they received while breaching fiduciary duties owed to

Express Scripts.

       117.    Plaintiffs, on behalf of Express Scripts, seek restitution from these defendants, and

each of them, and seek an order of this Court disgorging all profits, benefits, and other compensation

obtained by defendants, and each of them, from their wrongful conduct and fiduciary breaches.

       118.    Plaintiffs, on behalf of Express Scripts, have no adequate remedy at law.

                                            COUNT III

                         (Against All Defendants for Corporate Waste)

       119.    Plaintiffs incorporate ¶¶1-108.

       120.    By their wrongful acts and omissions, defendants wasted valuable corporate assets by,

among other things, causing Express Scripts to pay improper compensation, bonuses and other

benefits to certain Express Scripts executives who breached their fiduciary duties owed to Express

Scripts and its shareholders. Express Scripts received no benefit from these improper payments. As

a result, defendants damaged Express Scripts and are liable to the Company for corporate waste.

       121.    Plaintiffs, on behalf of Express Scripts, have no adequate remedy at law.

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                                      PRAYER FOR RELIEF

       WHEREFORE, plaintiffs, on behalf of Express Scripts, demand judgment as follows:

       A.       Awarding money damages against all defendants, jointly and severally, for all losses

and damages suffered as a result of the acts and transactions complained of herein, together with pre-

judgment interest;

       B.       Directing all defendants to account for all damages caused by them and all profits,

special benefits and unjust enrichment they have obtained as a result of their misconduct, including

all salaries, bonuses, fees and insider sales proceeds, and imposing a constructive trust thereon;

       C.       Directing Express Scripts to take all necessary actions to reform and improve its

corporate governance and internal control procedures to comply with applicable law, including, but

not limited to, the federal securities laws and state corporation laws regarding fiduciary duties;

       D.       Awarding punitive damages;

       E.       Awarding costs and disbursements of this action, including reasonable attorneys’,

accountants’ and experts’ fees; and

       F.       Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiffs demand a trial by jury.

DATED: September 26, 2016                      ROBBINS GELLER RUDMAN
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